                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                            SOUTHWESTERN DIVISION

DEBBIE WALTERS and,                                          )
MAX WALTERS,                                                 )
                                                             )
                                      Plaintiffs,            )
                                                             )
v.                                                           )       No. 93-5118-CV-SW-DW
                                                             )
THE PEOPLE’S REPUBLIC OF CHINA,                              )
                                                             )
                                      Defendant.             )

                                             ORDER

       On October 22, 1996, the Court entered judgment against Defendant and awarded
damages in favor of Plaintiffs in the amount of $10,000,000 (Doc. 180). On May 11, 2006,
Plaintiffs filed a motion for revival of judgment with the Court (Doc. 198) stating that the
statutory period of ten years since entry of judgment has not expired and that the judgment has
not been satisfied. On July 5, 2006, pursuant to Federal Rule of Civil Procedure 69 and Missouri
Supreme Court Rule 74.09, the Court issued an order directing Defendant to show cause, on or
before October 2, 2006, why such judgment should not be revived (Doc. 200). Plaintiff has
served Defendant a copy of the Motion to Revive and the Order To Show Cause pursuant to the
provisions of 28 U.S.C. § 1608(a)(3). (Docs. 201 & 202.) Defendant has failed to appear or
otherwise respond to the Court’s order to show cause. Accordingly, Plaintiffs’ motion for revival
of judgment is GRANTED and the judgment shall be renewed and extended and shall continue
for ten (10) years from the date of this Order, unless the judgment shall be sooner satisfied.




Date: October 18, 2006                                             /s/ DEAN WHIPPLE
                                                                    Dean Whipple
                                                             United States District Court




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